     Case 9:11-cr-80205-KAM Document 564 Entered on FLSD Docket 08/29/2018 Page 1 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                               Page 1 of 6




                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                            West Palm Beach Division

   UNITED STATES OF AMERICA                                             2nd AMENDED JUDGMENT IN A CRIMINAL
              v.                                                        CASE
       MITCHELL J. STEIN
                                                                        Case Number: 11-80205-CR-MARRA-1
                                                                        USM Number: 62053-112
                                                                        Counsel For Defendant: Benjamin Gruenstein/David Harris,
                                                                        Esq.
                                                                        Counsel For The United States: Michelle Pascucci, Dept. of
                                                                        Justice
                                                                        Court Reporter: Stephen Franklin
Date of Original Judgment: 4/8/15
(Or Date of Last Amended Judgment)
Reason for Amendment:
Modification of Sentence on Remand (18 U.S.C. § 3742(f)(1) and (2))
The defendant was found guilty on Counts 1 through 14 of the Indictment on May 20, 2013.
The defendant is adjudicated guilty of these offenses:
                                                                                                       OFFENSE
TITLE & SECTION                          NATURE OF OFFENSE                                                                COUNT
                                                                                                       ENDED
18 U.S.C. § 1349                         Conspiracy to commit mail and wire fraud                      07/2010            1
18 U.S.C. § 1341 and 2                   Mail Fraud                                                    8/22/08            2-4
18 U.S.C. § 1343 and 2                   Wire Fraud                                                    6/11/08            5-7
18 U.S.C. § 1348 and 2                   Securities Fraud                                              4/22/08            8-10
18 U.S.C. § 1957 and 2                   Money Laundering                                              4/22/08            11-13
18 U.S.C. § 371                          Conspiracy to obstruct justice                                7/08/10            14
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
of material changes in economic circumstances.

                                                                      Date of Imposition of Original Sentence: 12/5/2014



                                                                      ____________________________________________
                                                                      Kenneth A. Marra
                                                                      United States District Judge


                                                                      Date: August 29, 2018
     Case 9:11-cr-80205-KAM Document 564 Entered on FLSD Docket 08/29/2018 Page 2 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                            Page 2 of 6



DEFENDANT: MITCHELL J. STEIN
CASE NUMBER: 11-80205-CR-MARRA-1
                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 150 months. This term consists of 150 months as to Count 1 through 10 to run concurrently; 120
months as to Counts 11 through 13 to run concurrently and 60 months as to Count 14, all terms to run
concurrently to all other counts.
The court makes the following recommendations to the Bureau of Prisons: The defendant be designated to
FCI Miami Camp and that he enter the Bureau of Prisons 500 Hour Residential Drug Treatment Program.
The defendant is remanded to the custody of the United States Marshal.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________ , with a certified copy of this judgment.




                                                                 ___________________________________________
                                                                 UNITED STATES MARSHAL


                                                                 ___________________________________________
                                                                 DEPUTY UNITED STATES MARSHAL
     Case 9:11-cr-80205-KAM Document 564 Entered on FLSD Docket 08/29/2018 Page 3 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                                  Page 3 of 6

DEFENDANT: MITCHELL J. STEIN
CASE NUMBER: 11-80205-CR-MARRA-1
                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of Three (3) years as to Counts 1
through 14, to run concurrently.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.
The defendant shall cooperate in the collection of DNA as directed by the probation officer.
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
    1. The defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
       days of each month;
    3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4. The defendant shall support his or her dependents and meet other family responsibilities;
    5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
    6. The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
    10.The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
       any contraband observed in plain view of the probation officer;
    11.The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
    12.The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
    13.As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
     Case 9:11-cr-80205-KAM Document 564 Entered on FLSD Docket 08/29/2018 Page 4 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                             Page 4 of 6

DEFENDANT: MITCHELL J. STEIN
CASE NUMBER: 11-80205-CR-MARRA-1
                                SPECIAL CONDITIONS OF SUPERVISION
Association Restriction - The defendant is prohibited from associating with coconspirators while on
probation/supervised release.

Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a reasonable
manner and at a reasonable time by the U.S. Probation Officer.

Related Concern Restriction - The defendant shall not own, operate, act as a consultant, be employed in, or
participate in any manner, in any related concern during the period of supervision.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or
alcohol abuse and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient
treatment. The defendant will contribute to the costs of services rendered (co-payment) based on ability to pay or
availability of third party payment.

Treatment for Gambling - The defendant shall participate in an approved program of evaluation/treatment for
problem/pathological gambling. Further, the defendant will contribute to the cost of services for such
evaluation/treatment (copayment) based on the ability to pay or availability of third party payment.
     Case 9:11-cr-80205-KAM Document 564 Entered on FLSD Docket 08/29/2018 Page 5 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                        Page 5 of 6

DEFENDANT: MITCHELL J. STEIN
CASE NUMBER: 11-80205-CR-MARRA-1
                          CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                      Assessment                   Fine               Restitution
            TOTALS                                    $1,400.00                    $0.00             $1,029,570.00


The defendant must make restitution (including community restitution) to the victims identified by the U.S.
Probation Office. If the defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment column
below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
States is paid.

                                                                               RESTITUTION               PRIORITY OR
NAME OF PAYEE                                                      TOTAL LOSS* ORDERED                   PERCENTAGE
To victims identified by the U.S. Probation
Office                                                             $1,029,570.00     $1,029,570.00

Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the amount
of $1,029,570.00. During the period of incarceration, payment shall be made as follows: (1) if the defendant
earns wages in a Federal Prison Industries (UNICOR) job, then the defendant must pay 50% of wages
earned toward the financial obligations imposed by this Judgment in a Criminal Case; (2) if the defendant
does not work in a UNICOR job, then the defendant must pay a minimum of $25.00 per quarter toward the
financial obligations imposed in this order. Upon release of incarceration, the defendant shall pay
restitution at the rate of 10% of monthly gross earnings, until such time as the court may alter that payment
schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S. Attorney’s
Office shall monitor the payment of restitution and report to the court any material change in the
defendant’s ability to pay. These payments do not preclude the government from using other assets or
income of the defendant to satisfy the restitution obligations.


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
     Case 9:11-cr-80205-KAM Document 564 Entered on FLSD Docket 08/29/2018 Page 6 of 6

USDC FLSD 245B (Rev. 09/08) - Judgment in a Criminal Case                                                   Page 6 of 6

DEFENDANT: MITCHELL J. STEIN
CASE NUMBER: 11-80205-CR-MARRA-1
                             SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. Lump sum payment of $1,400.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
U.S. Attorney's Office are responsible for the enforcement of this order.
The defendant’s right, title and interest to the property identified in the preliminary order of forfeiture [DE
400] which has been entered by the Court and is incorporated into this Judgment and Commitment, is
hereby forfeited. Forfeiture is ordered joint and several with coconspirator Martin Carter in the amount
of $2,156,000.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
